72 F.3d 127NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Samuel PREVITIRE, Plaintiff-Appellant,v.Timothy REEVES, Sergeant;  D.N. Dillow, CorrectionalOfficer;  Russell Journell, Correctional Officer;  W.D.Blankenship, Former Warden, Bland Correctional Center;  K.M.Payne, Sergeant;  Sergeant Carroll;  D.L. Smith, AssistantWarden;  P.L. Huffman, Warden;  Frances L. Ashley;  V.Wolfe;  Ted A. Durr;  G. Hughes;  R. Hall;  R.A. Young;Magistrate Hall;  E.W. Murray, Defendants-Appellees.
    No. 95-7467.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 16, 1995.Decided Dec. 12, 1995.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  James C. Turk, District Judge.  (CA-93-983-R).
      Samuel Previtire, Appellant Pro Se.  Linwood Theodore Wells, Jr., Assistant Attorney General, Mary Elizabeth Shea, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, Virginia, for Appellees.
      W.D.Va.
      AFFIRMED.
      Before MICHAEL and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      Affirmed by unpublished per curiam opinion.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his motion for reconsideration.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Previtire v. Reeves, No. CA-93-983-R (W.D.Va. Sept. 12, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    